                      Case 1:23-mj-00132-GMH Document 1 Filed 06/20/23 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District of Columbia
                  United St.at.es of America                        )
                               V.                                   )
                                                                    )      Case No.
                 Daniel Bibonge Amsini
                                                                    )
                   DOB:-                                            )
                                                                    )
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant. in this case, state that the following is trne to the best of my knowledge and belief.
On or about the date(s) of                    January 6, 2021              in the county of __________ in the
                         in the Distiict of       Columbia      , the defendant(s) violated:
            Code Section                                                     Offense Description
        18 U.S.C. § 1752(a)(l ) -Entering and Remaining in a Restricted Building or Grounds,
        18 U.S.C. § 1752(a)(2) -Disorderly or Disrnptive Conduct in a Restricted Building or Grounds ,
        40 U.S.C. § 5104(e)(2)(B) - Violent Entiy and Disorderly Conduct on Capitol Grounds,
        40 U.S.C. § 5104(e)(2)(D) - Disorderly or Disrnptive Conduct in a Capitol Building,
        40 U.S.C. § 5104(e)(2)(G) -Parading, Demonsti·ating, orPicketing in a Capitol Building,
        18 U.S.C. § 641 -TheftofGovemmentPrope1iy.
         This criminal complaint is based on these facts:
  See attached statement offacts.




         N Continued on the attached sheet.


                                                                                               Complainant's signature

                                                                                      ...... , Special Agent
                                                                           �ame and title
Attested to by the applicant in accordance with the requirements of Fed. R. C1im. P. 4.1
by telephone.
                                                                                         G. Michael Digitally signed
                                                                                                    by G. Michael
Date:            06/20/2023
                                                                                         Harvey     Harvey
                                                                                                 Judge's signature

City and state:                         Washington, D.C.                          G. Michael Harvey, U.S. Magisti·ate Judge
                                                                                               Printed name and title
